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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

In Re:                                         ) Case No. 13-19032 MER
                                               )
Terry Lee Evanson                              ) Chapter 11
SS# XXX-XX-9483                                )
                                               )
Lynette Pearce Evanson                         )
SS# XXX-XX-5531                                )
                                               )
                         Debtors               )



     DEBTORS’ WITNESS AND EXHIBIT LIST FOR HEARING ON COMMAND
            CENTER, INC.’S MOTION FOR RELIEF FROM STAY


        Terry Lee Evanson (“T. Evanson”) and Lynette Pearce Evanson (“L. Evanson”)
(collectively, the “Evansons” or “Debtors”), through undersigned counsel, submits the following
Witness and Exhibit List for hearing on Command Center’s Motion for Relief from Stay
scheduled for August 7, 2013 at 9:30 a.m.:

I.       WITNESSES

         Debtors WILL call the following witnesses:

         1.       Terry Lee Evanson, 10175 South Oneida, Littleton, CO 80124. Mr. Evanson will
testify as to all issues raised in the Motion and Objection.

      2.       Lynette Pearce Evanson, 10175 South Oneida, Littleton, CO 80124.           Mrs.
Evanson will testify as to all issues raised in the Motion and Objection.

         Debtors MAY call the following witnesses:

         1.     Heather Cleary, Ritsema & Lyon, P.C., 999 18th Street, Suite 3100, Denver, CO
80202. Ms. Clear may be called to testify as to the AdvantEdge Adversary Proceeding,
Command Center, Inc. v. AdvantEdge Insurance Group, LLC, United States Bankruptcy Court
for the District of Colorado, Case No. 13-10006-MER, as well as the Denver District Court case,
AdvantEdge Insurance Group, LLC v. Command Center, Inc., Case No. 2010CV4135.

         2.    Any witness listed or called by any other party


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       3.     Any witness necessary for rebuttal or impeachment; and

       4.     Any witness necessary for authentication of exhibits.

II.    EXHIBITS

      Debtors intend to introduce as exhibits at hearing those exhibits enumerated in
Attachment 1, attached hereto and incorporated herein.

Respectfully submitted this 2nd day of August, 2013.

                                            ALLEN & VELLONE, P.C.

                                            /s/Patrick D. Vellone
                                            Patrick D. Vellone, # 15284
                                            Kevin D. Allen, #8878
                                            Tatiana G. Popacondria, # 42261
                                            1600 Stout Street, Suite 1100
                                            Denver, CO 80202
                                            Telephone: (303) 534-4499

                                            ATTORNEYS FOR THE DEBTORS-IN-POSSESSION




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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 2, 2013, I electronically filed with the Clerk of the Court
using CM/ECF system and served by prepaid first class mail a copy of the foregoing on the
following parties listed below:
                                                     Jeffrey A. Weinman
Clarissa M. Raney                                    730 17th St., Ste. 240
       th
555 17 St., Ste. 3200                                Denver, CO 80202-3506
Denver, CO 80202-3921
                                                     Douglas County Treasurer
William C. Brittan                                   Attn: Stephanie Cook
270 St. Paul St., Ste. 200                           100 Third Street
Denver, CO 80206-5133                                Castle Rock, CO 80104

U.S. Trustee                                         Heather S. Cleary, Esq.
999 18th St., Ste. 1551                              999 18th Street, Suite 3100
Denver, CO 80202-2415                                Denver, CO 80202

Alan K. Motes                                        Kenneth J. Buechler
United States Trustee Program                        Buechler Law Office, LLC
999 18th St., Ste. 1551                              1621 18th Street, Suite 260
Denver, CO 80202-2415                                Denver, Colorado 80202




                                                     /s/ Juanita E. Sena_______________
                                                     Juanita E. Sena




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